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                          Case 3:15-cv-01289-NJR-DGW Document 1 Filed 11/20/15 Page 1 of 15 Page ID #1
...   - . : - .---~ ...

                                                      IN THE UNITED STATES DISTRICT COURT                                                               M
                                                                                                                                                             F'Ji..€D
                                                     FOR THE SOUTHERN  DISTRICT OF ILLINOIS                                                                  'OJ! 2 0
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                                                                                                                                                          . L.ou; ·:; Op. ouR,
                                                                                                                              15-1289-NJR                         ,) (Jj.     lf.L.;~y
                                                                                                              Docket No.                                                    ftcr:    O;s

                                                                                                          )           (To be supplied by the Clerk)
                                                                                                          )
                                                                                                          )
                                                                                                          )
                                                              Plain tiiT/P etitioner(s),                  )              CIVIL RlGHTS COMPLAINT
                                                                                                          )              pursuant to 42 U.S.C. §1983
                                                                                                          )              (State Prisoner)
                                              -vs-                                                        )
                                                                                                          )              CIVIL RlGHTS COlHPLAINT
                                                                                                          )   0          pursuant to 28 U.S.C. §1331
                                                                                                          )              (Federal Prisoner)
                                                                                                          )
                                                                                                          )
                                                                                                          )              CIVIL COMPLAINT
                                                                                                          )   0          punu2nt to the Federal Tort Claims
                                                                                                          )              Act, 28 U.S.C. §1346, 2671-2680
                                                          Defendant/Re.spondent(s). )


                          I.       JURISDICfiON

                                   A.        Plaintiff's mailing address and/or register number and present place of confinement.
                                               0HAR. aJcq~tt (137~4%~) P.0.13DX 12?                               tasi. Sf Loifite, IL 622 03

                                   B.         Defendant              RoN                     VitJ/e                                              is employed as
                                                                                               (Name of First Defendant)
                                                                     DA~ to DA~                   WardeN
                                                                                                      (PositiOn/Title)

                                              with                  Swfh WeskrN /1/f~K>IS Comcit(»Ja/ c~Nter                       q_so K1MJ5higowa~
                                                                                               (Employer's Name and Address)
                                                                    t:ast St. Louis, !lliwl5                  ~1.163
                                              At the time the claim(s) alleged in this complaint arose, was the defendant employed by the
                                              state, local or federal government?
                                                                                         Yes 0(>         · No ( )
                                              If your answer is "yes", briefly explain:
                                                     1!1fkl6l)       De¢- of &rvecHoNS viJrdeM
          .   -   .......   ---   ,._,. .



        Case 3:15-cv-01289-NJR-DGW Document 1 Filed 11/20/15 Page 2 of 15 Page ID #2
    ~- · --
                                            c.   Defenc:Unt


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                                                                                       ~ ~~~~~
                                                                                             rr ___________
                                                                                (Employer's Name and Address)

                                                                      C\:1J t\lli~\\t)~~ eds+ 5\ .Looi) ttbNO\S ~1103       I

                                                 At ilie time the claim(s) alleged in this complaint arose, v•as the de fendant emp loyed by ilie
                                                 stat!:, local or federal government?


                                                                     Yes ('/)                 No ( )
                                                        .,
                                                 If your answer is "yes", briefly explain:

                                                             \\)()l UeJithCEve Mn)i~is1ratar


                                            D.   Using ilie outline of ilie fonn provided, include the above infonnation for any additional
                                                 defendant( ) .




                     II.                    PREVIOUS LAWSUITS

                                            A.   Have you begun any other lawsuits in state or federal court relating to your imprisoornent?

                                                          Yes ()<)                No ( )

                                            B.   If your answer to "A" is "yes", describe the lawsuit(s) in the space below. (If there is more
                                                 than one (l) lawsuit, you must describe the additional lawsuits on another she::t of paper,
                                                 using the same outline.) Failure to complv with this provision mav result in summarv
                                                  denial of vour complaint.
                                                    lawsvrr h~s lo cb       w1th    ±bt.    LIV!'-16 CD~d l+i()l\() iNriclt..   of Ch;k fw;.J/y j~;J.




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Case 3:15-cv-01289-NJR-DGW Document 1 Filed 11/20/15 Page 3 of 15 Page ID #3
             1.      Parties to previous lawsuits :
                     P 1ain tim s)     OmM. CDCGbff-

                     Defencbnt(s) _1!
                                   ..l\~.8Jm!L
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             2.



             3.       Docket number     ---.!\~5c~Z~3~02~--------------
             4.      N~e of Jude;c      to .... hccn osc   \I."J.S   assigned   Ju~E JOAN     H. Lcf~/ Matia \}J\cltz 1'0
             5.       Type of case   (fOf ~k          Was it a fubas Corpus or Civil Rights action?)
                           Llvil ]I6fy\s   Coro~1Nf

             6.       Disposition of c.:uc ( fOf c:urnple: Was the C.J..Se dismissed? Was it appealed? Is it
                      still pending 1 )
                            11ND1Nq

             7.       Approximate d..:ltc of fi I tng Lawsuit        _q.!.J./.L.!.II:;..;U~5:..___ _ _ _ _ _ _ _ _ _ __
                                                                        I I

             8.       Approx.i.m.atc cillc of dJsposition       _]..JJe;;:J:N<i:!U.l.!l~::!!.q~------------

 III.   GRIEVANCE PROCEDURE

        A.   Is there a prisoner grievance proc=dure in the institution? --!::.QiloE.....5:..___ _ _ _ _ __

        B.   Did you present the facts relating to your complaint in the prisoner grievance procedure?
             Yes (X) No ( )

        c.



             2.



        D.   If your answer is "no·, explain why not. - - - - - - - - - - - - - - - - -




                                                      -3-
Case 3:15-cv-01289-NJR-DGW Document 1 Filed 11/20/15 Page 4 of 15 Page ID #4
       E.       If there is no prisoner grievance procedure in the institution, did you complaint to prison
                authorities? Yes ( )       No ( )

       F.       If your answer is "yes".
                1.       Wlut steps did you take?




                1.       \\!hat   .,.,'d.S   the result?




       G.       If your answer is "no", explain why n o t . - - - - - - - - - - - - - - - - -·




       H.       Anach copies of your request for an administrative remedy and the response(s) you received.
                If you cahnot do so, explain why not:




 IV.   STATEMENT OF CLAIM

       State here, as briefly as possible, the FACTS of your case. State who, what, when, where and how
       you feel your constitutional rights were violated. Do not cite cases or statutes. If you choose:: to submit
       legal arguments or citations, you must do so in a separate memorandum oflaw. If you intend to allege
       a nwnber of related claims, number and set forth each claim in a separate paragraph. If your claims
       relate to prison disciplinary proc=edings, attach coo•es of the disciplinary charges and anv
       disciplinarv hearing summarv as exhibits.

       Onlv two (2) ~ra pages {81,/; x 11 ") are permitted, if necess.arv, to complete your statement of
       dum. Additionally, attach any relevant, supporting documentation.
            ~


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Case 3:15-cv-01289-NJR-DGW Document 1 Filed 11/20/15 Page 5 of 15 Page ID #5




                                     -5-
..   Case 3:15-cv-01289-NJR-DGW Document 1 Filed 11/20/15 Page 6 of 15 Page ID #6

       v.      REQUEST FOR RELIEF

               State exactly what you want the Court to do for you . If you an: a st.:lte or federal prisoner. an d seek
               relief ....tuch affects the: fact or duration of your i.mprisorunent (for example : illc:g:d deu:nt.ion.,
               restoration of good time, expungement of records or parole release). you must file your cl.:llm on a
               Hab=s Corpus form, pursuant tD 28 U.S .C. §2254, 28 US.C. §2255, or 28 U.S.C. §2241.




       VT.     JURY DEMAND (check one bar below)

               The plaintiff does   ~         does n o @          request a trial by jury. (See Fed.R.Civ .P . 38 .)




                     DECLARATION UNDER FEDERAL RULE OF OVTL PROCEDURE 11

       I, the undersigned, ~rtify to the best of my knowledge, information, and belief, that this complaint is in full
       compl.ian~ with Rule ll(a). and ll(b) of the Federal Rules of Civil Procedure .              The undersigned also
       recog:niz.e.s that .fu.ilure to comply with Rule I l(a) and (b) may result in sanctions, monetary or non-monetary,
       pursuant to Federal Rule of Civil Pr~ure ll(c) .

       The plaintiff hereby requests the Court issue all appropriate servic.: and/or noti~ to the defend.ant(s).


       Signed this   IV   day of   NC>\Je.tnther-   .20
                                                          -15-·


                                                                                              e of Plaintiff




                                                                                 Signature of anomey, if any




                                                                  -6-
       Case 3:15-cv-01289-NJR-DGW Document 1 Filed 11/20/15 Page 7 of 15 Page ID #7
                                                          . ILLINOIS DEPARTMENT OF CORRECTIONS


                                                        Administrative Review Board
                                                   Return of Grievance or Correspondence



Offender:
                                Last Name                                            First Name                       Ml                 10#



Facility:        .Sit_ )/ C.C..

¢(Grievance: Facility Grievance #       (if applicable) _ _ _ _ _ _ _ _     Dated:       9/19kS: '   or   D   Correspondence:   Dated: · - - - - -


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The attached grievance or correspondence is being returned for the following reasons:

Additional information required:
   ~rovide a copy of your written Offender's Grievance, DOC 0046, including the counselor's response, if applicable .
   ~ovide a copy of the Response to Offender's Grievance, DOC 0047, including the Grievance Officer's and Chief Administrative
           Officer's response, to appeal.
     D     Provide dates of disciplinary reports and facility where incidents occurred.
     D     Unable to determine nature of grievance or correspondence; submit additional specific information. Please return the attached
           grievance or correspondence with the additional information requested to: Administrative Review Board
                                                                                     Office of Inmate Issues
                                                                                     1301 Concordia Court
                                                                                     Springfield, IL 62794-9277


Misdirected:
     D     Contact your correctional counselor regarding this issue.
     D     Request restoration of Statutory Sentence Credits to Adjustment Committee. If the request is denied by the facility, utilize the
           offender grievance process outlined in Department Rule 504 for further consideration .
     D     Contact the Record Office with your request or to provide additional information.
     D     Personal property issues are to be reviewed at your current facility prior to review by the Administrative Review Board.
     D     Address concerns to: Illinois Prisoner Review Board
                                319 E. Madison St., Suite A
                                Springfield, IL 62706


No further redress:
     D     Award of Supplemental Sentence Credits are discretionary administrative decisions; therefore, this issue will not be addressed
           further.
    D      Not submitted in the timeframe outlined in Department Rule 504; therefore, this issue will not be addressed further.
    D      This office previously addressed this issue on - - - = - , - - - - -
                                                                     Date
     D     No justification provided for additional consideration.


Other ( s p e c i f y ) : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




Completed by:                   Debbie Knauer                                                                                    /C) I
                                     Print Name



Distribution:   Offender                                          Printed on Recycled Paper                                      DOC 0070 (Rev.4/2013)
                Inmate Issues
         Case 3:15-cv-01289-NJR-DGW Document      1 Filed
                                     ILLINOIS DEPARTMENT      11/20/15 Page 8 of 15 Page ID #8
                                                         OF CORRECTIONS
                                                                                            OFFENDER'S GRIEVANCE
                                                                               -   '
 Dale:                                                          Offender:
                                                                (Please Print)

 Present Facility: 0                       t 1..                 /1                    _1                Facility where grievance                                    (_                     2(    C    £
                                 .j Ou 'rJ         w~(-1'1"
                                                   111
                                                            ~   Lo3Vr~ dl~ ~oJ-<r                        issue occurred:                 "5 o u·h,, W e~f..,,.~           .w•·'< c:t-:ow            R...,;Ar

 NATURE OF GRIEVANCE:

      0      Personal Property                                  0      Mail Handling               D     Restoration of Good Time               0    ADA Disability Accommodation
      0      Staff Conduct                                      0      Dietary                     00.   Medical Treatment                      0    HIPAA
      0      Transfer Denial by Facility                        0      Transfer Denial by Transfer Coordinator                                  0   Other    (specify):


      D      Disciplinary Report: _ _ __,_/_ ___:._ _ __
                                                              Date of Report                                                            Facility wh ere issued

            Note: ·              Protective Custody Denials may be grieved immediately via the local administration on the protective custody status notification .

 Complete: Attach a copy of any pertinent document (such as a Disciplinary Report, Shakedown Record, etc.) and send to:
            Counselor, unless the issue involves discipline, is deemed an emergency, or is subject to direct review by the Administrative Review Board.
            Grievance Officer, only if the issue involves discipline at the present facility or issue not resolved by Counselor.
            Chief Administrative Oflicer, only if EMERGENCY grievance.
            Administrative Review Board, only if the issue involves transfer denial by the Transfer Coordinator, protective custody, involuntary
            administration of psychotropic drugs, issues from another facility except personal property issues, or issues not resolved by the Chief
            Administrative Officer.

Summary of Grievance (Provide info                                                                                                                                                               Information
for each person Involved): AI                                                                                                                                                                    tK
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i;l      Check only if this is an EMERGENCY grievance due to a substantial risk of im inent personal injury or other serious or irreparable harm to self.



                                                                                                                                         ID #
                                                                                                                                                                                / GJ    I    /5
                                                                                                                                                                                 Date

                                                                                        (Continue on reverse side if necessary)


                                                                                Counselor's Response (if applicable)
Date
Received: _ ____!./~--...!..---                                         0      Send directly to Grievance Officer                0     Outside jurisdiction of this facility. Send to
                                                                                                                                       Administrative Review Board, P.O. Box 19277,
                                                                                                                                       Springfield, IL 62794·9277

Response: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

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                                                                               REVIEW BOARD
                                                                 ILLINOIS Uf:PAHTMt:N I OF I,;ORRf:GTIONS
                                                                   OFFENDER'S GRIEVANCE
    Case 3:15-cv-01289-NJR-DGW Document 1 Filed 11/20/15 Page 9 of 15 Page ID #9
 Date:


 Present Facility:                                                                                                    ;,1.       J
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                                                                                   Facility where grievance (J_
                                                                              r:   Issue occurred:         (.)~
 NATURE OF GRIEVANCE:

    0    Personal Property                     0       Mail Handling          0    Restoration of Good Time            0     ADA Disability Accommodation
    0    Staff Conduct                         0       Dietary                li(l Medical Treatment                   0     HIPAA
    0    Transfer Denial by Facility           0       Transfer Denial by Transfer Coordinator                         0     Other (specify):

    0    Disciplinary Report:----::"'--:-::--"'----
                                             Date of Report                                                    Facility where issued

         Note: ·    Protective Custody Denials may be grieved immediately via the local administration on the protective custody status notification.

Complete: Attach a copy of any pertinent document (auch aa a Diaclpllnary Report, Shakedown Record, etc.) and send to:
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         Chief Administrative Officer, only if EMERGENCY grievance.
         Administrative Review Board, only if the issue involves transfer denial by the Transfer Coordinator, protective custody, involuntary
         administration of psychotropic drugs, issues from another facility except personal property issues, or issues not resolved by the Chief
         Administrative Officer.

Summary of Grievance (Provide information including a description of what happened, when and where it happened, and the name or identifying Information
for each peraon Involved}: - - - - : : - - - - - - - : - - - - - ; - - - - - - : - - - - : : : - - - - - - - - - - - : - - - - - - - - - - -

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                                                                                                                                                     Date
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                                                              Counselor's Response (If applicable)
Date
Received:--~~----'------                                0   Send directly to Grievance Officer         0     Outside jurisdiction of this facility. Send to
                                                                                                             Administrative Review Board, P.O. Box 19277,
                                                                                                             Springfield, IL 62794·9277

Response: ----------------------------------------------------------------------------------




- - - - - - - - - - = - c .7:n-c,r:=.ounselor's Name                                               Counselor's Sian:.tllrA                     n ........ ,..,c ............... - .......
                                                           OFFENDER'S GRIEVANCE (Continued}
            Case 3:15-cv-01289-NJR-DGW Document 1 Filed 11/20/15 Page 10 of 15 Page ID #10




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       Case 3:15-cv-01289-NJR-DGW Document       1 Filed
                                   ILLINOIS DEPARTMENT      11/20/15 Page 11 of 15 Page ID #11
                                                       OF CORRECTIONS
                                                                        OFFENDER'S GRIEVANCE
                                                                                                                                                        ~ -~-ll
  Dale:                                           Offender:
                                                  (Please Print)
  Present Facility:     <" . _L
                       JOLT\ \-, l..V~ ~-( .r"-\
 NATURE. OF GRIEVANCE:

   0       Personal Property                      D    Mail Handling             0    Restoration of Good Time               0   ADA Disability Accommodation
   0       Staff Conduct                      D        Dietary                   M
                                                                              Medical Treatment                              0   HIPAA
   0      Transfer Denial by Facility         0        Transfer Denial by Transfer Coordinator                               0   Other    (specify):

   0      Disciplinary Report:                I
                                             Date of Report                                                          Facility where issued

          Note:        Protective Custody Denials may be grieved immediately              ~ia the l~al administration on the protective custody status notification.
 Complete: Attach a copy of any pertinent document (such as a Disciplinary Report, Shakedown Record, etc.) and send to:
          Counselor, unless the issue involves discipline, is deemed an emergency, or is subject to direct review by the Administrative Review Board.
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          administration of psychotropic drugs, issues from another facility except personal property issues, or issues not resolved by the Chief
          Administrative Officer.

Summary of Grievance (Provide Information including a description of what happened, when and where it happened, and the name or identifying Information
for each person involved): - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - --                                                              - - - --            ----
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                                                              Counselor's Response                 (If applicable)

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Response:      ~~
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        Case 3:15-cv-01289-NJR-DGW Document       1 Filed
                                   ILLINOIS DEPARTMENT       11/20/15 Page 12 of 15 Page ID #12
                                                       OF CORRECTIONS
                                                                                          OFFENDER'S GRIEVANCE (Continued)


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